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                                           Cahill      Gordon             & Reinde l llp
                                                         32 Old Slip
                                                     New York , NY 10005
DANIEL AMATO             SAMSON A. ENZER                   TELEPHONE: (212)701-3000       ALIZA R. LEVINE           NIKOLAS X. RODRIGUEZ
DANIEL R. ANDERSON       JAMES Z. FANG                         WWW.CAHILL.COM             JOEL H. LEVITIN           PETER J. ROONEY
PETERJ.ARMENIO           GERALD J. FLATTMANN JR.                                          MARK LOFTUS               MATTHEW E. ROSENTHAL
HELENE R. BANKS          KIERSTEN A. FLETCHER                                             JOHN MacGREGOR            THORN ROSENTHAL
ANIRUDH BANSAL           HELENAS. FRANCESCHI                 1990 K STREET, N.W.          MICHAEL MAKHOTIN          TAMMY L. ROY
LANDIS C. BEST           JONATHAN J. FRANKEL              WASHINGTON, DC 20006-1181       TRISTAN E. MANLEY         ANDREW SCHWARTZ
CHRISTOPHER BEVAN        SESI GARIMELLA                         (202) 862-8900            BRIANT. MARKLEY           DARREN SILVER
BROCKTON B. BOSSON       ARIEL GOLDMAN                                                    MEGHAN N. McDERMOTT       JOSIAH M. SLOTNICK
DONNA M. BRYAN           PATRICK GORDON                   221 W. 10th STREET, 3rd FLOOR   EDWARD N. MOSS            RICHARD A. STIEGLITZ JR.
SARAH W. CHEN            JASON M. HALL                        WILMINGTON, DE 19801        JOEL MOSS                 GREGORYSTRONG
EMEKA C.CHINWUBA         STEPHEN HARPER                           (302) 884-0000          NOAH B. NEWITZ            SEAN R. TIERNEY
JAMES J. CLARK           CRAIG M. HOROWITZ                                                EDWARD C. O'CALLAGHAN     AMITTREHAN
CHRISTOPHER W. CLEMENT   TIMOTHY B. HOWELL             CAHILL GORDON & REINDEL (UK) LLP   JULIANA OBREGON           HERBERTS. WASHER
ANDREW COCHRAN           COLLEEN TRACY JAMES                20 FENCHURCH STREET           JAVIER ORTIZ              FRANK WEIGAND
LEWIS RINAUDO COHEN      DAVID G. JANUSZEWSKI                  LONDON EC3M 3BY            DAVID R. OWEN             MILES C. WILEY
AYANO K. CREED           BRIANS. KELLEHER                      +44 (0) 20 7920 9800       JOHNPAPACHRISTOS          PETERG. WILLIAMS
SEAN M. DAVIS            ANDREW R. KELLY                                                  LUIS R. PENALVER          DAVID WISHENGRAD
STUART G. DOWNING        RICHARD KELLY                                                    SHEILA C. RAMESH          C. ANTHONY WOLFE
MICHAELA. DVORAK         JOEL KURTZBERG                    WRITER'S DIRECT NUMBER         MICHAEL W. REDDY          ELIZABETH M. YAHL
ADAM M. DWORKIN          TED B. LACEY                           (212)701-3833             OLEG REZZY
ANASTASIA EFIMOVA        ANDREW E. LEE                                                    THOMAS ROCH ER*             * ADMITTED ASA SOLICITOR IN
                                                                                                                     ENGLAND AND WALES ONLY




                                                                                                                  May 13,2025
             VIA ECF                                Request GRANTED. The Court adopts the parties' proposed briefing
                                                    schedule as set forth below. Discovery in Hurlock (25-cv-03891) shall
             Hon. Jennifer L. Rochon
                                                    be stayed pending resolution of the anticipated motions to dismiss.
             Southern District of New York
             500 Pearl Street, Room 1920                                                                     SO ORDERED.
             New York, NY 10007            Dated: May 15, 2025
                                                                                                             __________________________
                                                  New York, New York
                                                                                                             JENNIFER L. ROCHON
                            RE:       Clarke v. Chow, et al., No. l:25-cv-03268 (S.D.N.Y.)                   United States District Judge
                                      Hurlock v. Keister Ventures et al., 1:25-cv-03891 (S.D.N.Y.)

             Dear Judge Rochon,

                    We represent Defendant Benjamin Chow in the above-referenced matters,1 and write on
             behalf of Mr. Chow and Plaintiffs in both actions pursuant to Section 1.F of Your Honor’s
             Individual Rules of Practice in Civil Cases to respectfully propose a schedule for further
             proceedings in these actions.

                     On April 19, 2025, Plaintiffs Jonathan Clarke and Rodrigo Ferreira da Cruz Vogt
             commenced an action by filing a complaint in this Court alleging, inter alia, violations of the
             Securities Act of 1933 and the Securities Exchange Act of 1934. On March 17, 2025, Plaintiff
             Omar Hurlock commenced an action by filing a complaint alleging statutory and common law
             claims under New York law in the Supreme Court of New York for the County of New York. Mr.
             Chow timely removed the Hurlock action to this Court on May 9, 2025. Mr. Chow has agreed to
             accept service of the summons and complaints in both actions while reserving his rights to assert
             any and all defenses in the matters, including, but not limited to, lack of personal or subject matter
             jurisdiction, lack of standing, improper venue, and that the claims asserted are subject to


             1 The Hurlock action has been referred to Your Honor as related to the Clarke action, but has not
             yet been assigned.
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arbitration.

        On April 25, 2025, in the Clarke action, the Court entered an order consistent with the
Private Securities Litigation Reform Act of 1995 (“PSLRA”) requiring that any members of the
purported class move the Court to serve as Lead Plaintiff by June 23, 2025, and that any
oppositions be filed by July 7,2025. (No. 1:25-cv-03268-JLR, Dkt. 19.) The Court also scheduled
a conference to consider any motions for appointment of Lead Plaintiff and Lead Counsel and for
consolidation on July 17, 2025, at 12:00 p.m. (Id.)

        Mr. Chow’s current deadline to respond to the Hurlock complaint is May 16, 2025. See
Fed. R. Civ. P. 81(c)(2).

       We have conferred with counsel for Plaintiffs, and Mr. Chow and Plaintiffs respectfully
request that the Court adjourn Mr. Chow’s time to move, answer, or otherwise respond to the
complaints in both cases and adopt the schedule set forth below in both actions (and any future
consolidated action in the event that any related complaints are filed):

               •    Hurlock and Lead Plaintiff shall each file an amended complaint within 60 days
                    after the Court’s appointment of Lead Plaintiff and Lead Counsel in the Clarke
                    action;
               •    Mr. Chow’s deadline to move, answer, or otherwise respond to the amended
                    complaints in both actions shall be 60 days after the filing of the amended
                    complaints;
               •    Lead Plaintiffs and Hurlock’s oppositions to Mr. Chow’s motions to dismiss, if
                    any, shall be filed within 60 days after the filing of Mr. Chow’s motions to dismiss;
                    and
               •    Mr. Chow’s replies in further support of his motions to dismiss, if any, shall be filed
                    within 30 days after the filing of Lead Plaintiffs and Hurlock’s oppositions.

        Although the claims alleged in the Hurlock action are not governed by the PSLRA,
Plaintiffs and Mr. Chow agree that it would be most efficient and convenient for the Court to
consider the claims together because of the similarities among the underlying factual and legal
issues. For that reason, the parties respectfully request that the Court stay discovery in the Hurlock
action pending resolution of the motions to dismiss, so that the Court may coordinate discovery in
both matters.
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          This is the parties’ first request for an adjournment.


                                                 Respectfully submitted,




                                                 Sheila C. Ramesh



cc: All attorneys via ECF
